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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS

TREVOR DARROW,                                 |
                                               |
       Plaintiff,                              |
vs.                                            |
                                               |
JUST BRANDS USA, INC.,                         |
JUST BRANDS, FL, LLC, and                      |
SSGI FINANCIAL SERVICES, INC.                  |
                                               |
       Defendants.                             |

                         CLASS ACTION COMPLAINT
       Plaintiff, Trevor Darrow, on behalf of himself and all others similarly situated,

by and through his undersigned counsel, brings this action against Defendants for

violations of the Illinois Consumer Fraud and Deceptive Trade Practices Act, 815

ILCS 505/1, et seq.

                           NATURE OF THE ACTION

       1.     This is a putative class action lawsuit on behalf of purchasers of

“JustCBD” products in the State of Illinois. Defendants manufacture, label,

distribute, and sell “JustCBD” products in the State of Illinois. Defendants’

“JustCBD” products contain a label that there is “NO THC”. However, Defendants’

“JustCBD” products contain THC.

       2.     According to the World Health Organization (WHO), cannabidiol (or

“CBD”) is a naturally occurring cannabinoid found in cannabis plants. CBD is used


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by consumers for numerous medical conditions, including without limitation,

epilepsy, insomnia, chronic pain, arthritis, and anxiety.

      3.     According to the National Institute of Health (NIH), delta-9-

tetrahydrocannabinol (or “THC”) is the main psychoactive chemical in marijuana.

      4.     While Defendants manufacture, label, distribute, and sell “JustCBD”

products as having “NO THC”, Defendants’ “JustCBD” products contain THC.

      5.      Since 2017, Defendants have advertised “JustCBD” products as

having “NO THC”. Defendants made that representation on its “JustCBD” CBD

Cannabidiol Gummies, as advertised below.




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      6.     Substantially the same advertisement and misrepresentation was made

on other “JustCBD” products.




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        7.     Those advertisements were false, however, because the “JustCBD”

products contain THC.

        8.     As a result of the Defendants’ misrepresentation, Plaintiff Darrow ate

“JustCBD” gummy watermelon rings and, as a result, failed an employment drug

test due to the presence of THC in his system. He was terminated as a result.

        9.    Plaintiff brings this action to recover actual damages for himself and

other similarly situated purchasers of the “JustCBD” products.

                           JURISDICTION & VENUE

        10.    This Court has jurisdiction over this action pursuant to 28 U.S.C.

§1332(a)(1), because the matter in controversy exceeds the sum or value of $75,000

and is between citizens of different states; and 28 U.S.C. §1332(d)(2)(A), because

the matter in controversy exceeds the sum or value of $5,000,000 exclusive of

interest and costs, and is a class action in which at least one member of the class of

plaintiffs is a citizen of a state different from Defendants. The Court also has

supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. §

1367.

        11.    The Court has personal jurisdiction over Defendants as a result of

Defendants’ substantial, continuous and systematic contacts with Illinois and

because Defendants have purposely availed themselves of the benefits and privileges

of conducting business activities within Illinois.


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       12.      Venue is proper in the Eastern District pursuant to 28 U.S.C. § 1391(b)

and (c), because Defendants are subject to personal jurisdiction in this District, and

a substantial part of the events or omissions giving rise to the claims occurred in this

District.

                                       PARTIES

       13.      Plaintiff, Trevor Darrow, is a resident of Illinois and a citizen of the

State of Illinois.

       14.      Defendants are Florida corporations with their principal place of

business in Coral Springs, Florida and are citizens of the State of Florida.

       15.    Defendant, Just Brands USA, Inc. (“Just Brands USA”), sells, and/or

globally distributes “JustCBD” branded products, and is responsible for the

advertising, marketing, and for packaging of CBD-infused edibles, oils, tinctures,

creams, and vapes, including the “JustCBD” products. Just Brands USA

manufactured, marketed, and/or sold the “JustCBD” products during the relevant

Class period.

       16.    Defendant, Just Brands FL, LLC (“Just Brands FL”), manufactures,

sells, and/or globally distributes “JustCBD” branded products, and is responsible for

the advertising, marketing, and for packaging of CBD-infused edibles, oils,

tinctures, creams, and vapes, including the “JustCBD” products. Just Brands FL




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manufactured, marketed, and/or sold the “JustCBD” products during the relevant

Class period.

      17.    Defendant, SSGI Financial Services, Inc. (“SSGI”), manufactures,

sells, and/or globally distributes “JustCBD” branded products, and is responsible for

the advertising, marketing, and packaging of CBD-infused edibles, oils, tinctures,

creams, and vapes, including the “JustCBD” products. SSGI manufactured,

marketed, and sold the “JustCBD” products during the relevant Class period.

      18.    Based on information and belief, SSGI - - as the parent company of Just

Brands USA and Just Brands FL - - dominates and controls all aspects of operations

and corporate decision-making. By way of illustration, the online retail site operated

by Defendants, “www.justcbdstore.com”, acknowledges specifically “SSGI

Financial Services” and that “Just Brands USA” is a “DBA” entity for SSGI. In

addition, all Defendants share the same principal address in Coral Springs, Florida

and primary officer and director, Stephen Iacona.

      19.    At all times relevant to the allegations in the Complaint, each Defendant

acted in concert with, with the knowledge and approval of, and/or as the agent of the

other Defendants within the course and scope of the agency, regarding the acts and

misrepresentations alleged herein.




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                                       FACTS

      20.    Defendants manufacture, market, and sell various “JustCBD” products,

including without limitation, edibles, candies, vape cartridges, oils, tinctures, bars,

creams, and dried fruits. All such “JustCBD” products advertise “NO THC” or

“THC Free” even though the products contain THC.

      21.     Reasonable consumers read and understand “NO THC” or “THC

Free” to mean there is no THC in the “JustCBD” products and that the products are

free of any THC.

      22.     On or about July 29, 2019, Plaintiff purchased Defendants’ “JustCBD”

gummies from a retailer in Illinois. The container for the “JustCBD” product

contained the advertisement and misrepresentation shown above that the product

contained “NO THC”.

      23.     Plaintiff purchased the “JustCBD” product because he reasonably

expected the product would help him sleep and that it did not contain any THC, as

Defendants had advertised on the product label.

      24.     Defendants’ “NO THC” representation was false and misleading to

Plaintiff and other similarly situated consumers.

      25.     Defendants’ “NO THC” representation was false because Defendants

knew their “JustCBD” products contained THC. However, that knowledge was not

advertised or communicated on the “JustCBD” products containers or labels.


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         26.   Plaintiff and other Class members detrimentally altered their positions

and suffered actual damages as a result of the advertisement and misrepresentation

that there was “NO THC” in the “JustCBD” products.

                         CLASS ACTION ALLEGATIONS


         27.   While reserving the right to redefine or amend the class definition prior

to seeking class certification, pursuant to Federal Rule of Civil Procedure 23,

Plaintiff seeks to represent a Class of all persons who, within three years of the filing

of the Complaint (the “Class Period”), purchased in the State of Illinois, for use and

not for resale or distribution, “JustCBD” products with the “NO THC” label (the

“Class”).

         28.   The members in the proposed Class are so numerous that individual

joinder of all members is impracticable, and the disposition of the claims of all Class

members in a single action will provide substantial benefits to the parties and the

Court.

         29.   Questions of law and fact common to Plaintiff and the Class include:

                a.   Whether Defendants’ use of the phrase “NO THC” created a

                     likelihood of deception or had the capacity to deceive consumers

                     about the presence of THC in the “JustCBD” products.

                b.   The actual damages suffered as a result of Defendants’ deceptive

                     labeling practices. And,

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               c.    The proper amount of punitive damages, attorneys’ fees and

                     other recoverable remedies under the Illinois Consumer Fraud

                     and Deceptive Business Practices Act.

        30.    Those common questions of law and fact predominate over questions

that affect only individual Class members.

        31.    Plaintiff’s claims are typical of Class members’ claims because they

are based on the same underlying facts, events, and circumstances relating to

Defendants’ conduct. Specifically, all Class members, including Plaintiff, were

subjected to the same misleading and deceptive conduct when they purchased the

“JustCBD” products, and suffered actual damages because the “JustCBD” products

misrepresented to consumers that there was “NO THC” in substantially the same

way.

        32.    Plaintiff will fairly and adequately represent and protect the interests

of the Class; he has no interests incompatible with the interests of the Class; and he

has retained counsel competent and experienced in class action litigation.

        33.    Class treatment is superior to other options for resolution of the

controversy because the relief sought for each Class member is small, such that,

absent representative litigation, it would be infeasible for Class members to redress

the wrongs done to them.

        34.    As a result of the foregoing, class treatment is appropriate under Fed.


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R. Civ. P. 23(a), 23(b)(2), and 23(b)(3). In addition, it may be appropriate, pursuant

to Fed. R. Civ. P. 23(c)(4), to maintain this action as a class action with respect to

particular issues.

                               CAUSE OF ACTION
                                       Count I
             Violation of the Illinois Consumer Fraud and Deceptive
                  Business Practices Act 815 ILCS 505/1, et seq.

      35.    The Illinois Consumer Fraud and Deceptive Business Practices Act,

815 ILCS 505/1, et. seq. makes it unlawful to employ “[u]nfair methods of

competition and unfair or deceptive acts or practices, including but not limited to the

use or employment of any deception fraud, false pretense, false promise,

misrepresentation or the concealment, suppression or omission of any material fact,

with intent that others rely upon the concealment, suppression or omission of such

material fact … in the conduct of any trade or commerce.” 815 ILCS 505/2.

      36.    As detailed throughout Plaintiff’s Complaint, Defendants represented

to Plaintiff and consumers there was “NO THC” in their “JustCBD” products when

in fact Defendants knew there was THC in the products.

      37.    Defendant violated Section 505/2 of the Illinois Consumer Fraud and

Deceptive Business Practices Act by misrepresenting that there was “NO THC” in

the “JustCBD” products.

      38.    Plaintiff and the Class were damaged by Defendants’ deceptive


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practices and their subsequent purchases of “JustCBD” products. Plaintiff and the

Class would not have purchased “JustCBD” products had the true facts about the

presence of THC in the products been known.

                             PRAYER FOR RELIEF

Wherefore, Plaintiff, on behalf of himself and all others similarly situated, prays for

judgment against Defendants, and the following remedies:

              a.     An Order declaring this action to be a proper class action,

       appointing Plaintiff as class representative, and appointing his undersigned

       counsel as class counsel;

              b.    An Order requiring Defendants to bear the cost of class notice;

              c.     An Order compelling Defendants to conduct a corrective

       advertising campaign;

              d.     An   Order     requiring   Defendants    to   pay   all   actual,

       compensatory, and punitive damages (as allowed by law) permitted under

       the Illinois Consumer Fraud and Deceptive Business Practices Act;

              e.    Pre- and post-judgment interest (as allowed by law);

              f.    An award of attorneys’ fees and costs; and

              g.     Such other and further relief for Plaintiff and the Class as the

       Court deems appropriate and just.

                                   JURY DEMAND

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            Plaintiff hereby demands a trial by jury.

Dated: October 28, 2019

                                     Respectfully Submitted,

                                     By:     /s/ David Fish


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